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                                                                                            AUG O8 2018
                         IN THE UNITED STATES DISTRICT COURT                      JAMES W1{__"-~-~~
                            EASTERN DISTRICT OF ARKANSAS                          By:_   ~ C K , CLERK
                                                                                                          D(PCLERK
UNITED STATES OF AMERICA                       )
                                               )
vs.                                            )
                                               )
                                               )       18 U.S.C.   § 1832(a)(5)
LIUXUEJUN                                      )       18 u.s.c.   § 2314
and                                            )       18 u.s.c.   § 371
SUN YUE                                        )       18 U.S.C.   § 3237

                                          INDICTMENT

       THE GRAND JURY CHARGES THAT:

       Introduction

       At all times relevant to this Indictment:

       1.      Ventria Bioscience (Ventria) was a privately held biopharmaceutical corporation

whose business focused on enabling global access to life-saving recombinant medicines and

other biotechnology products through its innovative, cost-effective technology platform. In

addition to its proprietary processes and trade secrets, Ventria had an extensive intellectual

property portfolio of more than 100 issued and pending patents, and exclusive licenses to issued

patents. These patents provided long-term sustainable advantage to Ventria's manufacturing

technology and product portfolio. Ventria had a production facility in Junction City, Kansas,

with its headquarters in Colorado. Ventria sold and shipped, and intended to sell and ship,

recombinant proteins developed and processed through particular rice seeds, in interstate and

foreign commerce.

       2.      Defendant LIU XUEJUN (LIU) is a foreign alien and citizen of the People's

Republic of China. On his United States visa application, LIU listed his employer as the Crop

Research Institute of Tianjin located in Tianjin, China, and listed his job title as "Preside the

Overall Work." LIU traveled to the United States from July 18, 2013, to August 7, 2013.

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       3.      Defendant SUN YUE (SUN) is also a foreign alien and citizen of the People's

Republic of China. SUN works for the Crop Research Institute of Tianjin located in Tianjin,

China, as a research associate. SUN traveled with LIU to the United States from July 18, 2013,

to August 7, 2013.

       4.      LIU and SUN, in their roles at the Crop Research Institute in the People's

Republic of China, invited two individuals, Weigiang Zhang and Wengui Yan, to their facility in

China in August 2012. Zhang, who had received his master's degree in agriculture from

Shengyang Agricultural University in China in 1992, was employed as a rice breeder at Ventria

in Kansas. He was responsible for managing Ventria's plant breeding and nursery operations, all

for the purpose of increasing protein yields and adapting plant varieties to local production areas.

Yan, who immigrated to the United States from the People's Republic of China in or about 1987,

was employed as a research geneticist with the United States Department of Agriculture at the

Dale Bumpers National Rice Research Center in Stuttgart, Arkansas. He was responsible for

research, development, and collection of rice cultivars and germplasms from all over the world.

       5.      After LIU and SUN invited Zhang and Yan to their Crop Research Institute in the

People's Republic of China in August 2012, Zhang and Yan invited LIU and SUN to the United

States and arranged for them to have contact with a number of agriculture experts in July and

August 2013.

       6.      Ventria developed and produced particular rice seeds designed to express proteins

used in the medical and pharmaceutical fields. Ventria was the only producer of these particular

rice seeds in the United States. One of these agricultural seeds made a recombinant protein,

Human Serum Albumin, being developed for use as a therapeutic excipient, an ingredient that

was intentionally added to a drug for purposes other than the therapeutic or diagnostic effect of

the intended dosage. The other rice seed made a different recombinant protein, Human

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Lactoferrin, being developed to treat or prevent gastrointestinal disease, antibiotic associated

diarrhea, hepatic disease, osteoporosis, and inflammatory bowel disease.

       7.      Ventria' s methods of developing, propagating, growing, cultivating, harvesting,

cleaning, and storing these particular rice seeds for cost-effectively producing recombinant

proteins from such seeds were protected by Ventria as confidential and proprietary information.

Ventria considered this information a trade secret (hereinafter referred to as the Trade Secret

Information), which was used in products sold and distributed in interstate or foreign commerce.

       8.      Ventria used a number of reasonable measures to protect the Trade Secret

Information and its other confidential proprietary information, including the following:

               a.      Ventria restricted access to the temperature-controlled environment where

       the unique rice seeds were stored and processed behind locked doors with magnetic card

       readers, and only certain employees were granted access.

               b.      Ventria limited access to the Trade Secret Information to those who

       needed it to perform their employment duties.

               c.      Ventria prohibited distribution of the rice seeds to other companies or for

       research.

               d.      As a condition of employment, Ventria employees executed non-

       disclosure and assignment agreements, which specifically referenced V entria' s

       confidential and proprietary information.

               e.      Ventria implemented data security policies stipulating that all information

       created, sent, received, or stored on Ventria's electronic resources was company property

       and that all activity on Ventria's electronic resources was subject to monitoring.

       Furthermore, these policies prohibited employees from transmitting, receiving, or storing

       company information outside Ventria's electronic resources.

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                                           COUNT ONE

                          (Conspiracy to Commit Theft of Trade Secrets)

        9.      The allegations set forth in paragraphs 1-8 are incorporated herein as if set forth in

full.

        10.     Beginning on or about October 17, 2010, the exact date being unknown, and

continuing to on or about August 7, 2013, both dates being approximate and inclusive, in the

Eastern District of Arkansas and elsewhere, the defendants,

                                         LIU XUEJUN and

                                             SUN YUE,

knowingly conspired and agreed together, with each other, and with other persons, known and

unknown to the grand jury, to commit the following offenses:

                a.     With the intent to convert a trade secret, that was related to and included

        in a product that was produced for and placed in interstate and foreign commerce, to the

        economic benefit of someone other than Ventria, and intending and knowing that the

        offense would injure Ventria, to knowingly steal, and without authorization appropriate,

        take, carry away, and conceal such information, in violation of Title 18, United States

        Code, Section 1832(a)(l);

                b.     With the intent to convert a trade secret, that was related to and included

        in a product that was produced for and placed in interstate and foreign commerce, to the

        economic benefit of someone other than Ventria, and intending and knowing that the

        offense would injure Ventria, to knowingly and without authorization transmit, deliver,

        send, mail, communicate, and convey such information, in violation of Title 18, United

        States Code, Section 1832(a)(2); and



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               c.      With the intent to convert a trade secret, that was related to and included

       in a product that was produced for and placed in interstate and foreign commerce, to the

       economic benefit of someone other than Ventria, and intending and knowing that the

       offense would injure Ventria, to knowingly possesse such information, knowing the same

       to have been stolen and appropriated, obtained, and converted without authorization, in

       violation of Title 18, United States Code, Section 1832(a)(3);

such trade secret being Ventria' s methods of developing, propagating, growing, cultivating,

harvesting, cleaning, and storing particular rice seeds for cost-effectively producing recombinant

proteins from such seeds.

       Manner and Means

       11.     LIU and SUN acted to carry out the conspiracy and effected its unlawful objects,

that is, the theft, transmittal, delivery, communicating, and possession of Trade Secret

Information owned by Ventria, through the following manner and means, among others.

               a.     It was part of the conspiracy that defendants LIU and SUN planned to

       obtain Ventria's Trade Secret Information with the help of Zhang and Yan.

               b.     It was further part of the conspiracy that defendants LIU and SUN met

       with Zhang and Yan when Zhang and Yan traveled to the Crop Research Institute in

       China to gauge how their agricultural knowledge and expertise would assist and further

       the efforts at the Crop Research Institute.

               c.      It was further part of the conspiracy that Zhang and Yan made travel

       arrangements for LIU and SUN to travel from the Crop Research Institute in China to the

       United States so Zhang could specifically pass along Ventria' s Trade Secret Information

       and Ventria's unique rice seeds with recombinant proteins to LIU and SUN.

       Overt Acts

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       12.      In furtherance of the conspiracy and to achieve the objects and purposes thereof,

the defendants, LIU XUEJUN and SUN YUE, committed and caused to be committed the

following overt acts, among others, in the Eastern District of Arkansas and elsewhere:

                a.     On or about October 17, 2010, coconspirator Zhang drafted a letter to the

Crop Research Institute in Tianjin, China expressing his desire to use his knowledge and

expertise of developing recombinant proteins in particular rice seeds, which he acquired at

Ventria, where he was employed, to the benefit of the Crop Research Institute.

                b.     In or about August of 2012, LIU and SUN coordinated a trip for Zhang

       and Yan to travel from the United States to the Tianjin Crop Research Institute.

                c.     In June of 2013, SUN informed Yan that she and LIU planned to visit the

       United States in July and August of 2013. SUN asked Yan to send invitation letters so

       SUN and LIU could apply for official Visas. SUN provided Yan with their names, job

       titles, and areas of expertise.

                d.     In or about June of 2013, Yan provided the invitation letters for SUN and

       LIU, on official United States Department of Agriculture letterhead, and shipped the

       letters via FedEx to defendant SUN.

                e.     Prior to the U.S. visit by defendants LIU and SUN, SUN provided to Yan

       a copy of the presentation that LIU would be giving on their visit. The presentation

       contained Yan's name on slide 54. Yan asked SUN not to mention to anyone that he had

       been in Tianjin, and SUN removed slide 54 from the presentation and told Yan not to

       worry.

                f.     On July 13, 2013, LIU, using email address goodrice@263.net, emailed an

       itinerary for the United States trip to Zhang and Yan.


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        g.       On July 15, 2013, Zhang emailed an employee of Monsanto, an

agriculture company in Missouri, to confirm that Zhang as well as SUN and LIU would

arrive at the Monsanto facility on July 18, 2013. The email identified the organization

involved with the tour as Tianjin Academy of Agri Science, Tianjin, China.

        h.       On or about July 16, 2013, both SUN and LIU traveled together to the

United States.

        1.       On or about July 17-18, 2013, Zhang took paid leave from his employer to

host and travel with LIU and SUN, taking them from his location in Kansas to tour an

agriculture company in Missouri.

       J.        On or about July 21-23, 2013, Yan enabled LIU and SUN to give an

agricultural presentation at his workplace in Stuttgart, Arkansas. Before the presentation,

Yan ensured that LIU and SUN had removed references to Yan and his previous visit to

their institute in China.

        k.       Between on or about July 16 and August 7, 2013, Zhang enabled SUN and

LIU to obtain possession of the unique rice seeds developed by Ventria, without

authorization from Ventria.

        1.       On or about August 7, 2013, both SUN and LIU attempted to fly from the

United States back to their home country of China with stolen agricultural seeds in their

carry-on and checked luggage.

13.     This was all in violation of Title 18, United States Code, Section 1832(a)(5).




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                                            COUNT TWO

                  (Conspiracy to Commit Interstate Transportation of Trade Secrets)

           14.    The allegations set forth in paragraphs 1-13 are incorporated herein as if set forth

in full.

           15.    Beginning on or about October 17, 2010, the exact date being unknown, and

continuing to on or about August 7, 2013, both dates being approximate and inclusive, in the

Eastern District of Arkansas and elsewhere, the defendants,

                                          LIU XUEJUN and

                                              SUN YUE,

knowingly conspired and agreed together, with each other, and with other persons, known and

unknown to the grand jury, to commit the following offense, transporting and causing to be

transported in interstate commerce items of stolen property with a value greater than $5,000 in

violation of Title 18, United States Code, Section 2314.

           Object of the Conspiracy

           16.    It was a part and object of the conspiracy that SUN and LIU and their coconspirators

transported or caused the transportation of particular rice seeds that belonged to Ventria, valued at

more than $5,000, for their ultimate transportation outside the United States.

           Manner and Means

           17.    LIU and SUN acted to carry out the conspiracy and effected its unlawful objects,

that is, the interstate transportation of property stolen from Ventria, through the following manner

and means, among others.

                  a.     It was part of the conspiracy that defendants LIU and SUN planned to

           obtain Ventria's Trade Secret Information with the help of Zhang and Yan.



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               b.      It was further part of the conspiracy that defendants LIU and SUN met

       with Zhang and Yan when Zhang and Yan traveled to the Crop Research Institute in

       China to gauge how their agricultural knowledge and expertise would assist and further

       the efforts at the Crop Research Institute.

               c.      It was further part of the conspiracy that Zhang and Yan made travel

       arrangements for LIU and SUN to travel from the Crop Research Institute in China to the

       United States so Zhang could specifically pass along Ventria's Trade Secret Information

       and Ventria's unique rice seeds with recombinant proteins to LIU and SUN.

       Overt Acts

       18.     In furtherance of the conspiracy and to achieve the objects and purposes thereof,

the defendants, LIU XUEJUN and SUN YUE, committed and caused to be committed the

following overt acts, among others, in the Eastern District of Arkansas and elsewhere:

               a.      On or about October 17, 2010, coconspirator Zhang drafted a letter to the

       Crop Research Institute in Tianjin, China expressing his desire to use his knowledge and

       expertise of developing recombinant proteins in particular rice seeds, which he acquired

       at Ventria, where he was employed, to the benefit of the Crop Research Institute.

               b.      In or about August of 2012, LIU and SUN coordinated a trip for Zhang

       and Yan to travel from the United States to the Tianjin Crop Research Institute.

               c.      In June of 2013, SUN informed Yan that she and LIU planned to visit the

       United States in July and August of 2013. SUN asked Yan to send invitation letters so

       SUN and LIU could apply for official Visas. SUN provided Yan with their names, job

       titles, and areas of expertise.




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         d.      In or about June of 2013, Yan provided the invitation letters for SUN and

LIU, on official United States Department of Agriculture letterhead, and shipped the

letters via FedEx to defendant SUN.

         e.      Prior to the U.S. visit by defendants LIU and SUN, SUN provided to Yan

a copy of the presentation that LIU would be giving on their visit. The presentation

contained Yan's name on slide 54. Yan asked SUN not to mention to anyone that he had

been in Tianjin, and SUN removed slide 54 from the presentation and told Yan not to

worry.

         f.      On July 13, 2013, LIU, using email address goodrice@263.net, emailed an

itinerary for the United States trip to Zhang and Yan.

         g.      On July 15, 2013, Zhang emailed an employee of Monsanto, an

agriculture company in Missouri, to confirm that Zhang as well as SUN and LIU would

arrive at the Monsanto facility on July 18, 2013. The email identified the organization

involved with the tour as Tianjin Academy of Agri Science, Tianjin, China.

         h.      On or about July 16, 2013, both SUN and LIU traveled together to the

United States.

         1.      On or about July 17-18, 2013, Zhang took paid leave from his employer to

host and travel with LIU and SUN, taking them from his location in Kansas to tour an

agriculture company in Missouri.

         J.      On or about July 21-23, 2013, Yan enabled LIU and SUN to give an

agricultural presentation at his workplace in Stuttgart, Arkansas. Before the presentation,

Yan ensured that LIU and SUN had removed references to Yan and his previous visit to

their institute in China.



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              k.      Between on or about July 16 and August 7, 2013, Zhang enabled SUN and

       LIU to obtain possession of the unique rice seeds developed by Ventria, without

       authorization from Ventria.

              1.      On or about August 7, 2013, both SUN and LIU attempted to fly from the

       United States back to their home country of China with stolen agricultural seeds in their

       carry-on and checked luggage.

       19.    This was all in violation of Title 18, United States Code, Section 371, and Title 18,

United States Code, Section 3237.




                            [End of Text. Signature page attached.]




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